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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                 CHARLESTON DIVISION


GORDON LANE, JR.,

                             Plaintiff,

v.                                                       CIVIL ACTION NO. 2:15-cv-13922

GC SERVICES LIMITED PARTNERSHIP,

                             Defendant.


                                    DISMISSAL ORDER


       Before the Court is the parties’ joint Stipulation of Voluntary Dismissal of Defendant GC

Services Limited Partnership. (ECF No. 25.) Defendant GC Services Limited Partnership is the

only Defendant in this action and the parties’ stipulation is signed by counsel for both parties.

Accordingly, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the Court DISMISSES

this case WITH PREJUDICE. The Court DIRECTS the Clerk to remove this action from the

Court’s docket.

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented party.

                                            ENTER:         July 11, 2016
